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Fill in this information to identify the case:

United States Bankruptcy Court for the:

Southern District of Indiana ~Custom Plan Classes
Case number (if known)                                                           Chapter 7
                                                                                                                                    Check if this an
                                                                                                                                 amended filing



Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                                 12/15
Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin a case
against a non-individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if known).

Part 1:     Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed
1. Chapter of the Bankruptcy           Check one:
   Code

                                              Chapter 7
                                      Chapter 11
Part 2: Identify the Debtor
 2. Debtor's name     Blue Marble Productions, Inc.

3. Other names you
   know the debtor
   has used in the last
   8 years

     Include any
     assumed names,
     trade names, or
     doing business as
     names.

4. Debtor's federal Employer
   Identification Number (EIN)
                                        Unknown
                                       EIN

 5. Debtor's address        Principal place of business                                             Mailing address, if different

                            7520 Georgetown Rd, Suite B
                            Number               Street                                                   Number           Street

                                                                                                          P.O. Box
                            Indianapolis IN 46268-0000
                            City                                    State       Zip Code                  City                          State          Zip Code

                                                                                                          Location of principal assets, if different from principal
                            Marion                                                                        place of business
                            County
                                                                                                          Number       Street


                                                                                                          City                         State           Zip Code


6.    Debtor's website (URL)           https://lovebluemarble.com/

7.    Type of debtor       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
                           Partnership (excluding LLP)
                           Other type of debtor. Specify:
8. Type of debtor's       Check one:
   business
                          Health Care Business (as defined in 11 U.S.C. § 101(27A)
                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)

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Debtor     Blue Marble Productions, Inc.                                                                     Case number (if known)

                           Railroad (as defined in 11 U.S.C. § 101(44)
                           Stockbroker (as defined in 11 U.S.C. § 101(53A)
                           Commodity Broker (as defined in 11 U.S.C. § 101(6)
                           Clearing Bank (as defined in 11 U.S.C. § 781(3)
                           None of the types of business listed.
                           Unknown type of business.
9. To the best of          No
   your knowledge,
   are any                 Yes. Debtor                                                                             Relationship
   bankruptcy cases
   pending by or                              District                             Date filed                       Case number, if known
   against any                                                                                  MM / DD / YYYY
   partner or affiliate
   of this debtor?

                                              Debtor                                                                Relationship
                                              District                             Date filed                       Case number, if known
                                                                                                MM / DD / YYYY

Part 3:Report About the Case
10. Venue             Check one:


                           Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of business, or principal assets
                             in this district longer than in any other district.
                           A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.


11.   Allegations         Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                          The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                          At least one box must be checked:

                           The debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability or
                             amount.
                           Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
                             charge of less than substantially all of the property of the debtor for the purpose of enforcing a lien against such property, was
                             appointed or took possession.

12. Has there been a       No
    transfer of any
    claim against the      Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule 1003(a).
    debtor by or to
    any petitioner?

13. Each petitioner's claim      Name of petitioner                                 Nature of petitioner's claim                             Amount of the claim
                                                                                                                                             above the value of any
                                                                                                                                             lien
                                 BevSource, Inc.                                    Judgment entered on February 2, 2024 (Case                 $1758056.2
                                                                                    No. 62-CV-23-5424, State District Court,
                                                                                    Hennepin County, Minnesota)
                                                                                                                                              $
                                                                                                                                              $
                                 Ardagh Metal Packaging USA Corp.                   Goods sold, unreturned dunnage, freight                   $905710.19
                                                                                    costs, and interest
                                                                                                                                              $
                                                                                                                                              $
                                 The Millcraft Paper Company                        Goods sold                                                $469326.48
                                                                                                                                              $
                                                                                                                                              $
                                                                                                            Total of petitioners' claims $3133092.87
                                 If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's
                                 name and the case number, if known, at top of each sheet. Following the format of this form,
                                 set out the information required in Parts 3 and 4 of the form for each statement under penalty
                                 of perjury set out in Part 4 of the form, followed by each additional petitioner's (or
                                 representative's) signature, along with the signature of the petitioner's attorney.


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Debtor      Blue Marble Productions, Inc.                                                                     Case number (if known)



 Part 4 Request for Relief
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a petitioning creditor is a
corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign representative appointed in a foreign
proceeding, attach a certified copy of the order of the court granting recognition.

I have examined the information in this document and have a reasonable belief that the information is true and correct.
     Petitioners or Petitioners' Representative                                  Attorneys


Name and mailing address of petitioner
BevSource, Inc.                                                                          Meredith R. Theisen
Name                                                                                     Printed name

219 Little Canada Road East, Suite 100                                                   Rubin & Levin, P.C.
Number         Street                                                                    Firm name, if any
Saint Paul MN 55117-0000                                                                 135 N. Pennsylvania Street, Suite 1400
City                                       State            Zip Code                     Number      Street
                                                                                         Indianapolis IN 46204-0000
Name and mailing address of petitioner's representative, if any                          City                                          State          Zip Code
Rebecca DuLac/Chief Financial Officer                                                    Contact phone        (317) 860-2877           Email
Name
                                                                                         Bar number      28804-49

219 Little Canada Road East, Suite 100                                                   State           IN
Number         Street
Saint Paul MN 55117-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on       February 14, 2024                                                      /s/ Meredith R. Theisen
                   MM / DD / YYYY                                                        Signature of attorney
                                                                                         Date signed       February 23, 2024
/s/ Rebecca DuLac/Chief Financial Officer                                                                  MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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Debtor      Blue Marble Productions, Inc.                                                                    Case number (if known)

    Petitioners or Petitioners' Representative                                      Attorneys


Name and mailing address of petitioner
Ardagh Metal Packaging USA Corp.                                                        Meredith R. Theisen
Name                                                                                    Printed name

8770 W. Bryn Mawr Avenue, Suite 800                                                     Rubin & Levin, P.C.
Number        Street                                                                    Firm name, if any
Chicago IL 60631-0000                                                                   135 N. Pennsylvania Street, Suite 1400
City                                       State            Zip Code                    Number      Street
                                                                                        Indianapolis IN 46204-0000
Name and mailing address of petitioner's representative, if any                         City                                          State          Zip Code
Curt Rothlisberger/Director, Cr.-Collect                                                Contact phone        (317) 860-2877           Email
Name
                                                                                        Bar number      28804-49

8770 W. Bryn Mawr Avenue, Suite 800                                                     State           IN
Number        Street
Chicago IL 60631-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on       February 23, 2024                                                     /s/ Meredith R. Theisen
                   MM / DD / YYYY                                                       Signature of attorney
                                                                                        Date signed     February 23, 2024
/s/ Curt Rothlisberger/Director, Cr.-Collect                                                            MM / DD / YYYY
Signature of petitioner or representative, including representative's title


    Petitioners or Petitioners' Representative                                      Attorneys


Name and mailing address of petitioner
The Millcraft Paper Company                                                             Meredith R. Theisen
Name                                                                                    Printed name

9010 Rio Nero Dr.                                                                       Rubin & Levin, P.C.
Number        Street                                                                    Firm name, if any
Independence OH 44131-0000                                                              135 N. Pennsylvania Street, Suite 1400
City                                       State            Zip Code                    Number      Street
                                                                                        Indianapolis IN 46204-0000
Name and mailing address of petitioner's representative, if any                         City                                          State          Zip Code
David Hegeman/Chief Financial Officer                                                   Contact phone        (317) 860-2877           Email
Name
                                                                                        Bar number      28804-49

9010 Rio Nero Dr.                                                                       State           IN
Number        Street
Independence OH 44131-0000
City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on       February 16, 2024                                                     /s/ Meredith R. Theisen
                   MM / DD / YYYY                                                       Signature of attorney
                                                                                        Date signed       February 23, 2024
/s/ David Hegeman/Chief Financial Officer                                                                MM / DD / YYYY
Signature of petitioner or representative, including representative's title




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